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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 ROOT, INC., et al.,                               :
                                                   :
                Plaintiff,                         :       Case No. 2:23-cv-512
                                                   :       Judge Sarah D. Morrison
        vs.                                        :       Magistrate Judge Elizabeth A.
                                                   :       Preston Deavers
 BRINSON CALEB SILVER                              :
                                                   :
                Defendants.                        :


           RECEIVER’S INITIAL INTERIM REPORT, RECEIVERSHIP PLAN
          AND APPLICATION FOR FEES AND EXPENSES OF RECEIVER AND
                COUNSEL TO RECEIVER COVERING THE PERIOD
                     MAY 12, 2023 THROUGH JUNE 17, 2023

        In accordance with the requirements of this Court’s Order, filed May 12, 2023, Order

 Appointing Receiver, filed May 17, 2023, and Order Amending Order Appointing Receiver, filed

 June 7, 2023 (hereinafter collectively “Receiver Order”), Jerry E. Peer, Jr. (“Receiver”), began the

 process of taking possession and/or control of all monetary and real property assets of Mr. Brinson

 Caleb Silver, Collateral Damage, LLC and Eclipse Home Design, LLC (hereinafter collectively

 “Defendants”). Pursuant to the Receiver Order and 28 U.S.C. §§ 754, 959 and 1692, Rule 66 of

 the Federal Rules of Civil Procedure, Receiver has completed this Initial Interim Report and

 Receivership Plan and accompanying schedules (“Initial Report”), which covers the period from

 May 12, 2023 through and including June 17, 2023 (the “First Interim Period”).

        I.      INTRODUCTION

        By way of the Receiver Order, Receiver was appointed to assume complete control and

 oversight all monetary and real property assets of Defendants. In an effort to identify assets of

 Defendants, Receiver’s counsel first met with Mr. Silver on May 12, 2023 to inquire as to the type
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 and whereabouts of Defendants’ assets. Subsequently, on May 18, 2023, Receiver delivered

 specific requests to Mr. Silver inquiring as to the assets of Defendants. As of the date of this Initial

 Report, Mr. Silver has been less than forthcoming with information necessary to both take

 possession of Defendants’ assets and secure same. Mr. Silver’s reluctance and/or refusal has been

 the subject of multiple hearings before this Court, during which Mr. Silver has asserted his Fifth

 Amendment privilege and refused to provide any additional information to Receiver at this time.

         Despite Mr. Silver’s refusal to provide complete answers to Receiver’s inquiries or

 requested documents, Receiver has identified various assets as well as endeavored to examine the

 bank accounts and track the funds of Defendants. Through Receiver’s efforts and with the

 assistance of Plaintiff, Receiver has identified the assets documented in this Interim Report and

 revealed various transfers of cash and/or sales of assets by Defendants, which are being further

 investigated to determine whether there may be a recovery of the asset or related cash proceeds.

         In addition to the above, Receiver immediately consulted with various real estate property

 managers and counsel licensed in Florida and California, in order to assist with securing the real

 estate assets in each respective state as well as any other actions that may be necessary to preserve

 and ultimately sell the real estate. Receiver intends to file separate motions to employ each

 professional deemed necessary to assist with fulfilling Receiver’s responsibilities.

         II.     RECEIVERSHIP PLAN

         This Initial Report will set forth (1) Receiver’s intentions moving forward with regard to

 both identifying and taking control of assets as well as liquidating assets of value; (2) a statement

 of assets in Receiver’s possession or under his control; (3) anticipated transactional costs to be

 incurred; (4)    anticipated duration of the administration of this estate; (5) engagement of

 professionals to carry out Receiver’s responsibilities; (6) estimated date by which an appraisal and

 sale by Receiver can occur and whether it will be public and/or private sales of the real property;

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 and (7) any litigation or administrative proceedings that are underway or anticipated.

                1.     Receiver’s Goal/Expectations For Administration.

        During the First Interim Period, Receiver and his counsel has devoted all efforts to

 identifying and securing the various assets of Defendants. In light of certain information received

 and records obtained, Receiver had and continues to have concern that Mr. Silver was attempting

 to and has liquidated certain assets and moved funds to accounts existing outside the jurisdiction

 of this Court. During the coming months Receiver will continue to investigate the sale of assets

 and transfer of cash proceeds prior to Receiver’s appointment to determine if any may be

 recovered. While Receiver has information related to certain bank accounts in Defendants’ names,

 based upon information and belief, there may be and likely are other accounts that have not been

 previously disclosed to or discovered by Receiver. Considering the nominal balances remaining

 in the known accounts, Receiver has reasons to believe there may be significant funds in other

 accounts.

        In addition to the above, Receiver has and will continue to secure certain assets of

 Defendants, including but not limited to real estate, vehicles, watercraft, and other high value

 personal property believed to be in Mr. Silver’s possession or under his control. Again, due to Mr.

 Silver’s lack of cooperation with identifying assets and providing information and records

 requested, it is taking additional time for Receiver to secure the assets. This will be a primary

 objective of Receiver in the coming weeks and months.

        When and while assets are being secured, Receiver is inquiring as to the best method of

 liquidation for each asset in order to maximize value and recovery. For example, Receiver has

 engaged in preliminary discussions with both real estate brokers and auctioneers to determine the

 best method of sale for the remaining three (3) properties. In addition, Receiver will be engaging

 property managers in Florida and California to assist with securing and maintaining the properties

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 until sold. Any other assets that come into the possession of or under the control of Receiver will

 undergo a similar analysis. Court approval will be requested and obtained prior to any assets being

 sold.

                 3.      Statement of Assets.

         Most notably, the assets of Defendants consist of the real property identified in these

 proceedings. As this Court is aware, the property located at 13105 Biscayne Island Terrace, Miami

 Florida was sold on May 28, 2023, pursuant to a Real Estate Purchase Contract entered into by

 Eclipse Home Design, LLC prior to Receiver’s appointment. The net proceeds recovered from

 that sale was $570,811.34, which are currently held by Receiver. A copy of the ALTA Settlement

 Statement is attached hereto as “Exhibit A.”

         Receiver has also inspected the real estate located at 9125 Bayshore Drive, Miami Florida.

 Upon Receiver’s appointment, it was believed that the fair market value of this property may

 exceed over $5,000,000. However, it was later discovered that the property had undergone

 significant demolition and was in the beginning stages of remodeling. As of the date of this First

 Interim Report, the property is uninhabitable and in need of significant work/renovation. It has

 been estimated that the work necessary to complete the home will exceed $700,000. This amount

 does not include the roughly $100,000 still owed to Kabco Kichens, the contractor performing the

 renovations. Any renovations that would be undertaken by Receiver would require the past due

 balance to Kabco Kitchens to be paid as it holds the permit to complete the work. The time for

 obtaining a permit in Miami Florida to do the work necessary can, and typically does, exceed 6-9

 months. This property is also subject to a pending foreclosure action which Receiver has filed a

 motion to stay pending the conclusion of the administration of this estate or sale of the property.

 At this time, Receiver has not made a determination as to the most beneficial and equitable means

 of selling this property.

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        Receiver has communicated with a property manager in California who has conducted

 drive-by inspections of 2543 Walnut Avenue, Venice California, and 19803 Vista Del Otero,

 Ramona California properties. In addition, Receiver will be conducting a walk-through inspection

 of each property during a trip from July 16 through July 18. In light of Mr. Silver’s testimony to

 the Court on June 26, 2023, Receiver has requested that the locks on the Ramona property be

 changed. Receiver has also attempted to make contact with Ms. Laurie Mannette, who is believed

 to be currently residing at the Walnut Avenue property, in order discuss her vacating the property

 or paying monthly fair market rent to Receiver until the property is sold.

        Receiver located an amphibious airplane docking system that was purchased by

 Defendants in April 2022 from ICON Aircraft located in Vacaville, California. The dock is valued

 at approximately $23,000 and Receiver is taking steps to secure and liquidate this asset.

        In addition, Receiver has identified a 2022 Yamaha FX HO with Audio Wave Runner

 (“Wave Runner”). The Wave Runner was abandoned by Mr. Silver at the 13105 Biscayne Island

 Terrace property and Receiver first learned of the Wave Runner after the closing of the sale of that

 Property. Receiver has since assessed the condition of the Wave Runner, which was found to be

 damaged. As a result, Receiver obtained preliminary estimates as to the costs to repair and current

 value of the Wave Runner. Without damage, the Wave Runner was estimated to be worth $13,000

 or less. As a result, Receiver has offered the new owners of the Biscayne Island Terrace property

 to obtain Court approval for a purchase price of $10,000. Selling the Wave Runner in this fashion

 will eliminate the costs associated with removal, storage, and/or repair as well as commissions or

 other related expenses.

        Receiver is also aware of certain vehicles located in California, which Mr. Silver has

 represented are subject to lease agreements.         As of this time, Receiver has no additional

 information related to these vehicles but has submitted requests to the California Department of

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 Motor Vehicles and intend to inspect the vehicles while in California in July.

        Lastly, Receiver believes there may be several items of jewelry, which were purchase with

 funds obtained from Plaintiff that are still in Mr. Silver’s possession or which have been given to

 certain acquaintances of Mr. Silver. Receiver is making efforts to locate these items and will

 update this report upon receiving new information or obtaining possession of the jewelry.

         Except as reported above, Receiver is not aware at this time of any additional assets of

 Defendants.

                4.      Anticipated Transactional Costs and Administrative Expenses

        It is difficult for Receiver to project the anticipated transactional and administrative costs

 of this estate. While certain expenses are customary and expected, such as administrative fees,

 utilities, insurance, and other related operating expenses, costs are highly variable and may

 fluctuate greatly. Receiver expects to incur certain fees, commissions, and expenses associated

 with the liquidation of the assets and further administration of the estate. The anticipated costs

 will also depend greatly on success of taking control of the real estate and liquidating the assets in

 a cost-efficient manner.

                5.      Duration of this Receivership.

        Based upon this plan and Receiver’s initial research, it is estimated that the duration of this

 receivership estate is six (6) to nine (9) months. This estimated duration is largely dependent upon

 the success of Receiver to identify and take possession of additional assets, negotiating a proposed

 sale of the respective assets, and the approval of any such sale by this Court.

                6.      Engagement of Professionals.

        Receiver has engaged in negotiations with property managers in both Florida and

 California to assist with securing and maintaining the respective properties until sold. In addition,

 subject to this Court’s approval, Receiver has engaged legal counsel in state to address pending

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 litigation as well as being actions for eviction if necessary. Lastly, Receiver expects to engage

 appraisers (if necessary), real estate brokers and/or auctioneers to assist with selling the properties.

 Any such engagement(s) will be subject to this Court’s prior approval.

                 7.      Estimated Date of Appraisal and Sale.

         In an effort to reduce costs and for the time being, Receiver is presently relying on

 valuation information previously provided by Plaintiff and value estimates provided by real estate

 brokers and managers.       Should Receiver determine at a later date that an appraisal or other

 valuation is necessary for the property(ies), Receiver will immediately obtain such appraisal and

 provide same to the Court and parties. Receiver is not including valuation information in this

 Initial Report in an effort not to publicly disclose same to any potentially interested buyers.

 Receiver will provide all information in its possession to the Court or any party upon request.

         Notwithstanding the above, due to the nature of Defendants’ business, it is difficult for

 Receiver to estimate at this time how long it may take to receive an offer for the real estate and

 any other assets not sold at public sale.

                 8.      Litigation and Administrative Proceedings

         Receiver reports that at this time he is only aware of a pending foreclosure action filed in

 Dade County, Florida against the Bayshore Drive property. As stated previously, Receiver has

 filed a motion to stay those proceedings but a ruling has not yet been entered. Should any

 additional proceedings be initiated or discovered, Receiver will immediately file a Suggestion of

 Stay, pursuant to the terms of this Court’s Receiver Order.

         III.    CLAIMS

         Receiver has identified various creditors/claimants of Defendants. Receiver has provided

 notice of the receivership to all known creditors/claimants of Defendants for which Receiver has

 valid addresses. As claims are received, a creditor matrix will be provided with subsequent interim

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 reports, identifying the claimant and amount of each claim. Receiver notes for the Court no

 independent analysis or review of the validity or allowance of such claims will be undertaken by

 Receiver until assets of the receivership estates are sold, at which time any claims will be reviewed

 and a recommendation as to the treatment of those claims will be submitted by Receiver.

           IV.    FEES AND EXPENSES

                  1. Receiver Fees and Expenses.

           As required by the Receiver Order, Receiver is making application to the Court for interim

 allowance of compensation and reimbursement of out-of-pocket expenses. Please note that while

 Mr. Jerry E. Peer, Jr. was appointed as Receiver, due to the volume of work necessary, both Mr.

 Gregory S. Peterson and Mr. Istvan Gajary have performed certain services and billed that time at

 the Receiver rate of $150 per hour rather than the counsel rate of $250 per hour to assist with

 controlling the costs of administration. A detailed summary of activity for Receiver is attached

 hereto as “Exhibit B”. Receiver requests allowance and payment of interim compensation and

 expenses in the amount of $20,686.74 to compensate Receiver for the hours expended and

 expenses incurred during the First Interim Period.

                  2. Peterson Conners LLP Fees and Expenses.

           Pursuant to the Receiver Order, Receiver employed the services of Mr. Peer, Mr. Peterson,

 and Mr. Gajary of Peterson Conners LLP (collectively “PetersonConners”) as its legal counsel.

 Receiver requests interim allowance and payment of compensation to PetersonConners in the

 amount of $49,962.50 for services rendered to Receiver and $6,924.78 for expenses incurred

 during the First Interim Period. Attached hereto as “Exhibit C” is the itemization setting forth the

 breakdown of time expended and costs advanced by PetersonConners during the First Interim

 Period.



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                3. Other Administrative Reimbursement

        In addition to the fees and expenses of Receiver identified above, Receiver has also been

 provided an invoice from Air Pros for services and parts related to repairing the air conditioning

 unit/system at the 13105 Biscayne Island Terrace property. This work was necessary in order to

 remediate certain issues identified by the buyers of the property. This invoice was paid in full by

 Ms. Kristin Hess, seller’s agent. A copy of the invoice is attached hereto as “Exhibit D.”

 Receiver requests authority to reimburse Ms. Hess, in the amount of $2,788.00 as this cost was

 incurred subsequent to Receiver’s appointment and therefore qualifies as an administrative

 expense, which benefitted the estate.

        V.      CONCLUSION

        Receiver respectfully submits this Initial Report and further respectfully requests that this

 Initial Report and Receiver’s First Interim Application for Allowance and Payment of Fees and

 Reimbursement of Expenses be approved.

                                              Respectfully submitted,

                                              PETERSON CONNERS LLP


                                               /s/ Jerry E. Peer, Jr.                  .
                                              Gregory S. Peterson (0061915)
                                              Jerry E. Peer, Jr. (0075128)
                                              Istvan Gajary (0089084)
                                              545 Metro Place South, Suite 435
                                              Dublin, Ohio 43017
                                              Telephone: (614) 365-7000
                                              Facsimile: (614) 220-0197
                                              E-mail: gpeterson@petersonconners.com
                                                       jpeer@petersonconners.com
                                                       igajary@petersonconners.com
                                              Counsel for Receiver, Jerry E. Peer, Jr.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed electronically on

 this 29th day of June, 2023 with the Clerk of Court using the CM/ECF system. Service will be

 made through the Court’s CM/ECF system on all parties and attorneys so registered, and all parties

 may access this filing through the Court’s system.

        A copy was also sent by regular U.S.P.S. mail and by electronic mail to the following:

 Paige McDaniel
 5576 Alexanders Lake Road
 Stockbridge, GA 30281




                                               /s/ Jerry E. Peer, Jr.                     .
                                              Jerry E. Peer, Jr. (0075128)




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                                                                     EXHIBIT A
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  Peterson Conners LLP                                                                                INVOICE
                                                                                                         Invoice # 7000
  545 Metro Place South, Suite 435                                                                     Date: 06/23/2023
  Dublin, OH 43017
  United States
  (614) 365-7000



  United States Southern District




                    Receiver / Root, et al. v. Silver, et al., 2:23cv512

   Services

      Date                           Notes                           Timekeeper         Quantity     Rate      Total

   05/13/2023   Attention to several emails re: first steps and    Jerry E. Peer, Jr.      0.40     $150.00     $60.00
                meeting with plaintiff.

   05/15/2023   Review of records from Plaintiff.                  Jerry E. Peer, Jr.      0.80     $150.00    $120.00

   05/16/2023   Review of records from Plaintiff.                  Jerry E. Peer, Jr.      4.20     $150.00    $630.00

   05/17/2023   Preparing for and attending meeting with           Jerry E. Peer, Jr.      3.70     $150.00    $555.00
                Plaintiff's counsel. Meeting with G Peterson
                and I Gajary re: next steps.

   05/18/2023   Review of title commitment, deed, payoff           Jerry E. Peer, Jr.      4.80     $150.00    $720.00
                request and other documents related to sale of
                13105 Biscayne re. Email to Dina Nerdinsky re:
                deed and related matters. Drafting Notice letter
                to creditors. Review of bank account and other
                information provided by Plaintiff. Attention to
                setting up receivership bank account.

   05/19/2023   Continued review of material from Vorys (bank      Istvan Gajary           3.20     $150.00    $480.00
                statements, etc.); attention to emails with Dina
                Nerdinsky and others; prepare for telephone
                call with counsel for witness.

   05/19/2023   Review bank records for Jocelyn Binder             Gregory Peterson        4.30     $150.00    $645.00
                transfers.

   05/19/2023   Review of deed. Attention to emails from D         Jerry E. Peer, Jr.      0.50     $150.00     $75.00
                Nerdinsky re: deed.

   05/22/2023   Continued review of bank records in                Gregory Peterson        5.20     $150.00    $780.00
                preparation for call with J. Binder lawyers




                                                                                                   EXHIBIT B
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               tomorrow.

  05/22/2023   Review of records provided by Plaintiff. Phone      Jerry E. Peer, Jr.   2.40   $150.00    $360.00
               call with Defendant's counsel. Phone call with
               G Peterson and I Gajary.

  05/23/2023   Phone calls with G Peterson, I Gajary, M. Haft,     Jerry E. Peer, Jr.   2.80   $150.00    $420.00
               J Secrest, D Nerdinsky and Court re: various
               matters. Review of closing documents related
               to 13105 Biscayne.

  05/24/2023   Drafting letter to creditors and proof of claim     Jerry E. Peer, Jr.   1.00   $150.00    $150.00
               form. Review of notice/letter to parties with
               information related to assets.

  05/25/2023   Attention to emails re: Miami 2 home and            Jerry E. Peer, Jr.   1.50   $150.00    $225.00
               contractors related thereto. Review of
               photographs of property. Review of bank
               statements reflecting PayPal account(s).
               Attention to emails re: possible boat owned by
               Mr. Silver.

  05/25/2023   Continued review of financial information;          Istvan Gajary        7.30   $150.00   $1,095.00
               identification of $87k transferred to undisclosed
               PayPal account; identification and research into
               undisclosed yacht "Finer Seas" including
               possible location of its sale in Miami; review of
               initial document production from Silver;
               telephone call and update email to GSP and
               JEP about conversation with Carlos of KabCo
               Kitchens regarding conditions of Bayshore
               property; attention to numerous related emails.

  05/26/2023   Continued review of records and follow up on        Istvan Gajary        2.50   $150.00    $375.00
               various receivership items; attention to
               numerous emails with GSP and JEP.

  05/26/2023   Attention to several emails re: records and         Jerry E. Peer, Jr.   3.30   $150.00    $495.00
               assets. Attention to identifying/locating assets
               and protecting same.

  05/30/2023   Meeting with JEP to arrange for trip to Florida     Gregory Peterson     2.40   $150.00    $360.00
               and to secure Venice California property on
               Walnut Street.

  05/30/2023   Phone calls with G Peterson re: properties and      Jerry E. Peer, Jr.   0.80   $150.00    $120.00
               production. Review of latest filings.

  05/30/2023   Research in effort to identify location of          Istvan Gajary        7.10   $150.00   $1,065.00
               residence of Silver; telephone call and emails
               with Bruce Leffers in effort to locate yacht;
               emails with JEP and GSP about various
               receivership items; initial review of subpoena
               response from PayPal including 4,800 lines of
               financial transaction data; research into various
               recipients of Silver's transactions, including
               identification of individuals and possible
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               witnesses; review of supplemental production
               of documents and information from Silver.

  05/30/2023   Attention to emails re: various matters. Online      Jerry E. Peer, Jr.   1.40   $150.00    $210.00
               search for real estate records and other assets.

  05/31/2023   Review of both productions from Mr. Silver.          Jerry E. Peer, Jr.   1.40   $150.00    $210.00
               Attention to emails from G Peterson and I
               Gajary re: California property manager and
               production from Mr. Silver.

  05/31/2023   Attention to numerous emails and telephone           Istvan Gajary        2.00   $150.00    $300.00
               calls about case; contact counsel for mortgagor
               at Bayshore property in effort to get payoff
               balance; continued review of financial records.

  06/01/2023   Reviewing bank records and other discovery           Jerry E. Peer, Jr.   3.50   $150.00    $525.00
               obtained by Plaintiffs and turned over by Silver.
               Attention to emails regarding notice of
               appearance and conference on status of
               turnover.

  06/01/2023   Prepare and file notice of appearance; attention     Istvan Gajary        4.20   $150.00    $630.00
               to numerous emails; locate "Finer Seas" in
               Miami; initial review of information from Nomad
               Capitalist including audio records; review of
               corresponding financial records.

  06/02/2023   Review of production from Nomad Equities.            Jerry E. Peer, Jr.   7.30   $150.00   $1,095.00
               Attention to file and review of financial records.
               Phone calls with counsel and Court re: latest
               developments. Conducting search for
               undisclosed assets. Phone call with N Akiva re:
               the Walnut Avenue property.

  06/02/2023   Continued review of Nomad Capitalist response        Istvan Gajary        8.00   $150.00   $1,200.00
               and audio recordings; continued review of
               financial records and research California
               properties; identification of undisclosed fourth
               property (19803 Vista Del Otero); research into
               ownership of 8331 Bleriot Ave. property;
               telephone call and emails with Seashore Title in
               effort to get information; telephone call and
               emails with Yacht 360 in effort to get records
               about yacht "Finer Seas"; identification of hull
               number of yacht; telephone call with AUSA
               about case facts; telephone call with Court;
               telephone call with Options Lending's president
               about Silver's financing of the four properties
               and discussion of possible other properties.

  06/05/2023   Attention to emails and texts from G Peterson        Jerry E. Peer, Jr.   2.80   $150.00    $420.00
               and I Gajary. Preparing for conference with
               court and meeting with US Attorney.
               Conference call with Court.

  06/06/2023   Phone calls with CA counsel and property             Jerry E. Peer, Jr.   0.90   $150.00    $135.00
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               manager re: control of properties.

  06/07/2023   Attention to emails with Shellpoint and Invictus    Istvan Gajary            5.50   $150.00     $825.00
               Capital Partners; follow up on securing local
               counsel to file receivership papers in District
               Court; continued review of financial records.

  06/07/2023   Phone call with G Peterson re: filing notice of     Jerry E. Peer, Jr.       0.40   $150.00      $60.00
               case in CA.

  06/08/2023   Continued review of records and preparation         Istvan Gajary            6.50   $150.00     $975.00
               for trip to Florida; prepare and issue subpoena
               to Shellpoint; follow up on filing Amended
               Complaint and receivership appointment and
               reappointment order in Florida and California
               district courts for three properties; research
               potential fifth property identified in Zelle
               subpoena response records; review Zelle
               subpoena response provided by Vorys.

  06/09/2023   Phone call with G Peterson re: several matters      Jerry E. Peer, Jr.       0.30   $150.00      $45.00
               re: properties.

  06/09/2023   Attention to several emails re: assets/accounts     Jerry E. Peer, Jr.       3.30   $150.00     $495.00
               and related matters. Preparing for trip to Miami,
               FL.

  06/11/2023   Travel to Miami, FL. Meeting with G Peterson        Jerry E. Peer, Jr.       7.00   $150.00    $1,050.00
               and I Gajary in preparations for meetings and
               property inspection.

  06/12/2023   Preparing for and attending several meetings        Jerry E. Peer, Jr.      10.00   $150.00    $1,500.00
               and property inspection.

  06/13/2023   Inspection of Silver's personal property at         Jerry E. Peer, Jr.      11.00   $150.00    $1,650.00
               Bayshore property and in the storage locker of
               K Hess. Returning to Columbus, OH.

  06/14/2023   Review of new information obtained from Miami       Jerry E. Peer, Jr.       2.40   $150.00     $360.00
               visit. Meeting with counsel and AUSA.

  06/16/2023   Phone call with G Peterson re: various issues.      Jerry E. Peer, Jr.       0.50   $150.00      $75.00
               Review of emails.

                                                                                    Services Subtotal        $20,490.00



  Expenses

    Date                                       Notes                                    Quantity    Rate        Total

  05/18/2023   Payment of bond to United States District Court; Check 10346                 1.00   $100.00     $100.00

  05/19/2023   Payment to Checks in The Mail for purchase of safety business                1.00    $96.74      $96.74
               checks

                                                                                   Expenses Subtotal           $196.74
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                                                                                 Subtotal       $20,686.74

                                                                                     Total      $20,686.74




  Statement of Account
      Outstanding Balance New Charges       Amount in Trust Payments Received    Total Amount Outstanding
  (          $0.00       + $20,686.74 ) - (    $0.00       +     $0.00        )=        $20,686.74




  Please make all amounts payable to: Peterson Conners LLP

  Payment is due upon receipt.
  Payments more than 30 days overdue incur 1.5% per month interest charges.

  Please notify us if your contact information has changed.

  Our Tax ID: XX-XXXXXXX
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  Peterson Conners LLP                                                                               INVOICE
                                                                                                        Invoice # 7001
  545 Metro Place South, Suite 435                                                                    Date: 06/23/2023
  Dublin, OH 43017
  United States
  (614) 365-7000



  United States Southern District




                    Attorney / Root, et al. v. Silver, et al., 2:23cv512

   Services

      Date                         Notes                             Timekeeper         Quantity    Rate       Total

   05/12/2023   Telephone conference with Jerry Peer            Catherine J. Schwartz      0.20    $125.00     $25.00
                regarding a turnover checklist for the
                records needed; attention to emails.

   05/12/2023   Telephone call with G Peterson and initial      Istvan Gajary              4.20    $250.00   $1,050.00
                review of amended complaint; attend
                Plaintiff's motion hearing on appointment of
                receiver; discuss case with counsel for
                Plaintiff; examination of Defendant, BC
                Silver, as to location and status of assets.

   05/12/2023   Multiple phone calls with G Peterson and I      Jerry E. Peer, Jr.         1.80    $250.00    $450.00
                Gajary re: appointment as receiver. Review
                of pleadings.

   05/12/2023   Consultations with team regarding               Gregory Peterson           2.00    $250.00    $500.00
                appointment and immediate first steps.

   05/14/2023   Review of pleadings. Outline of initial steps   Jerry E. Peer, Jr.         1.50    $250.00    $375.00
                to control assets. Phone call with G
                Peterson and I Gajary re: next steps.

   05/14/2023   Review amended complaint and numerous           Istvan Gajary              3.00    $250.00    $750.00
                other documents related to case facts.

   05/15/2023   Intake and inventory of documents,              Catherine J. Schwartz      1.10    $125.00    $137.50
                indexing them for Atty. Peterson and then
                discuss the same; attention to emails.

   05/15/2023   Continued review of docket and numerous         Istvan Gajary              4.50    $250.00   $1,125.00
                filings; telephone call with anticipated
                counsel for Silver; attention to numerous




                                                                                                      EXHIBIT C
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               related email; prepare proposed
               receivership order; initial review of
               documents from Vorys.

  05/15/2023   Attention to draft order appointing receiver.   Jerry E. Peer, Jr.      1.40   $250.00    $350.00

  05/15/2023   Review Amended Complaint, TRO motions           Gregory Peterson        1.30   $250.00    $325.00
               and Orders, multiple other docket items
               and filings.

  05/15/2023   Review of docket and pleadings.                 Jerry E. Peer, Jr.      2.40   $250.00    $600.00

  05/16/2023   Continued review of court docket and            Istvan Gajary           8.00   $250.00   $2,000.00
               review of information from Vorys; attention
               to emails and discussions with co-counsel.

  05/16/2023   Attention to emails re: order appointing        Jerry E. Peer, Jr.      0.50   $250.00    $125.00
               receiver. Phone call with court re: same.

  05/17/2023   Review materials in preparation for and         Gregory Peterson        2.60   $250.00    $650.00
               attending meeting with counsel for
               Plaintiffs.

  05/17/2023   Meeting with Vorys attorneys to discuss         Istvan Gajary           3.20   $250.00    $800.00
               case facts and location of assets; discuss
               case with co-counsel; continued research
               and review.

  05/18/2023   Drafting Oath and Undertaking. Review of        Jerry E. Peer, Jr.      1.30   $250.00    $325.00
               Order Appointing Receiver. Phone call with
               closing agent re: use of fiduciary deed.
               Attention to emails with Defendant's
               counsel re: fees. Review of revised deed.

  05/18/2023   Telephone conference with Jerry Peer;           Catherine J. Schwartz   3.40   $125.00    $425.00
               travel to and from the local Huntington
               National Bank branch and complete the
               majority of steps in opening one of their
               Unlimited Plus Business Checking
               accounts; follow up emails with banker to
               provide necessary documents to HNB.
               Assist with finalizing Receiver's Oath and
               Undertaking, review with JEP; Attention to
               multiple emails.

  05/18/2023   Continued review of case facts and              Istvan Gajary           4.50   $250.00   $1,125.00
               research into various entities.

  05/19/2023   Attention to emails with Greg Peterson;         Catherine J. Schwartz   1.00   $125.00    $125.00
               telephone call to Department of Highway
               Safety and Motor Vehicles Administrative
               Services in Florida regarding options for
               electronic submission of a public records
               request; submit request to
               dmvrecords@flhsmv.com; emails with
               Kingsley Musgrave at the Office of General
               Counsel in Florida. Attention to final
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               banking setup items. Conference with Jerry
               Peer about next steps.

  05/19/2023   Emails with counsel for Jocelyn Binder.        Gregory Peterson        0.50   $250.00    $125.00

  05/22/2023   Attention to emails with the Florida           Catherine J. Schwartz   0.30   $125.00     $37.50
               Highway Safety and Motor Vehicles
               records and general counsel offices.

  05/22/2023   Resolve access issues for information from     Istvan Gajary           8.00   $250.00   $2,000.00
               Vorys; extensive review of text messages
               and related items between J Binder and
               Silver; identification of napkin agreement
               between Ms. Binder and Silver on split of
               sale proceeds from Bayshore and
               Biscayne Island Ter. properties; telephone
               with Matt Jalondoni about case; attention
               to details related to closing at Biscayne
               Island Ter. property; FedEx deed to title
               company; obtain and review records from
               UBS.

  05/23/2023   Continued attention to the Florida motor       Catherine J. Schwartz   0.60   $125.00     $75.00
               vehicles record request form (HSMV
               90510) and various emails; Telephone
               calls regarding this week's closing.

  05/23/2023   Telephone call with counsel for J Binder;      Istvan Gajary           3.10   $250.00    $775.00
               continued review and follow up on
               numerous receivership items; review social
               media texts and communications of Binder
               and Silver.

  05/23/2023   Call with attorney for J. Binder.              Gregory Peterson        1.00   $250.00    $250.00

  05/24/2023   Letters to vendors providing a copy of the     Gregory Peterson        2.80   $250.00    $700.00
               Order appointing receiver. Continued
               review of bank records. Call with Vorys
               counsel. Calls with Jerry and Ish on several
               occasions. Extensive conversations
               regarding hiring of property manager and
               securing of property.

  05/24/2023   Meeting with Greg Peterson. Finalize           Catherine J. Schwartz   3.20   $125.00    $400.00
               letters and enclosures for the creation of
               packets, then process them for certified
               mail to several vendors identified in
               defendant bank records. Identify Silver's
               Instagram and related LLC; update GSP.
               Conference with investigator. Attention to
               multiple emails.

  05/24/2023   Telephone call and emails with attorney for    Istvan Gajary           2.80   $250.00    $700.00
               Miami 555, LLC about foreclosure filing at
               Bayshore property; continued review of
               and follow up on various receivership
               items.
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  05/24/2023   Search court records for any pending suits     Jerry E. Peer, Jr.      1.00   $250.00    $250.00
               involving defendants.

  05/25/2023   Meeting with Greg to conference regarding      Catherine J. Schwartz   1.60   $125.00    $200.00
               Bayshore Drive's current condition, then
               finalize letters and enclosures for the
               creation of packets being sent to PayPal,
               Venmo, Stripe, Cash App, and Zelle;
               Attention to emails; monitor online banking.

  05/25/2023   Conference call with Ish and Jerry             Gregory Peterson        3.10   $250.00    $775.00
               regarding Silver's document production,
               securing of property and property manager.
               Discussions regarding status of Miami 2
               property.

  05/25/2023   Review of Pristine Management                  Jerry E. Peer, Jr.      1.10   $250.00    $275.00
               Agreement and email from I Ramirez re:
               property.

  05/26/2023   Telephone call to Northrup & Johnson,          Catherine J. Schwartz   1.60   $125.00    $200.00
               speak with Janet; prepare correspondence,
               send by certified mail and fax; send
               confirmation to attorneys. Investigate
               contact information for ICON Aircraft sales
               director in the Tampa region, Jen
               Claymore, and prepare correspondence for
               email and certified mail. Multiple
               communications with Attorney Peterson.
               Organize all contacts into a matrix. Review
               banking online.

  05/26/2023   Telephone call with Court and second call      Gregory Peterson        1.00   $250.00    $250.00
               with Bill Kloss.

  05/26/2023   Telephone call with Jen Claymore of ICON       Gregory Peterson        0.60   $250.00    $150.00
               Aircraft.

  05/30/2023   Review of online banking; download             Catherine J. Schwartz   2.60   $125.00    $325.00
               delivery confirmations for CashApp, Miami
               Beach Marina, Stripe, Zelle, and Marine
               Max East; meeting with Greg Peterson to
               discuss current status of items, travel
               arrangements, and Silver's production of
               documents. Review investigator search
               results. Submit completed request forms to
               Florida MV records department. Telephone
               conference and emails with Ish Gajary
               regarding financial tracking and next steps.

  06/01/2023   Call with Court, prepare motion to show        Gregory Peterson        4.60   $250.00   $1,150.00
               cause, cross reference two document
               productions from Silver, search for and
               secure property manager for California
               property, Nate Akiva. Multiple
               conversations with Shellpoint regarding
               account status for Walnut property. Email
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               to John Secrest regarding stay of
               foreclosure proceedings.

  06/01/2023   Attention to online banking, reconcile May      Catherine J. Schwartz   0.90   $125.00    $112.50
               statement; download delivery confirmations
               for J.T. Contractors and PayPal; review
               investigator email; begin process of
               submitting records requests to the
               California DMV.

  06/02/2023   Telephone call to Nomad Capitalist,             Catherine J. Schwartz   4.60   $125.00    $575.00
               preparation of letter to send them Court
               Order, email the same. Certified Mail letter
               enc. Order [Doc. 101] to additional entities.
               Follow up with Florida motor vehicles.
               Finalize request for records from California
               DMV. Attention to Auditor report for
               another CA property that had been
               purchased by Silver. Conference with Greg
               Peterson. Emails with attorneys and
               investigator.

  06/02/2023   Several emails, listening to calls regarding    Gregory Peterson        7.40   $250.00   $1,850.00
               Nomad Capital, several calls with Ish and/
               or Jerry. Tracking down other global citizen
               and citizenship by investment companies.
               Sending Order to same. Conversations
               regarding CA property and securing
               residence.

  06/02/2023   Draft discussion points for update call with    Gregory Peterson        5.60   $250.00   $1,400.00
               the Court. Emails to Binder's lawyer and
               real estate agent. Update telephone
               conference with the Court. Meeting with P
               G Applegate of the USAO.

  06/03/2023   Attention to several emails re: undisclosed     Jerry E. Peer, Jr.      1.50   $250.00    $375.00
               property in California. Reviewing and
               revising management agreement for
               California properties.

  06/04/2023   Attention to current status of Order            Catherine J. Schwartz   1.00   $125.00    $125.00
               mailings.

  06/05/2023   Meet with Attorney Peterson to review           Catherine J. Schwartz   1.60   $125.00    $200.00
               status of various items; attention to
               subpoenas issuance.

  06/05/2023   Conversation with counsel to Jocelyn            Gregory Peterson        1.00   $250.00    $250.00
               Binder regarding meeting and several
               substantive issues including properties,
               boat and assets of value.

  06/05/2023   Review list of topics to cover and telephone    Istvan Gajary           6.70   $250.00   $1,675.00
               call with GSP; prepare for and attend
               telephone call with Court to provide update
               on status of work; meeting with AUSA and
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               FBI agent about case; attention to emails
               related to same; telephone call with
               numerous people in effort to get
               documentation on yacht sale; attention to
               subpoena preparation; telephone call and
               numerous email correspondence with
               Silver's lender in effort to obtain
               documents; continued review of financial
               records.

  06/06/2023   Deep dive into material from Nomad            Gregory Peterson        4.60   $250.00   $1,150.00
               Capitalists following meeting with AUSAs.
               Organization and preparation of
               subpoenas for vendors. Emails to Kristin
               Hess to arrange meeting on Monday, June
               12th. Conference call with property
               managers and legal counsel in California
               regarding securing property.

  06/06/2023   Review of USPS delivery confirmations         Catherine J. Schwartz   2.70   $125.00    $337.50
               and update matrix accordingly. Attention to
               subpoenas: engage Statewide Process
               Service for delivery upon J.T. Contractors
               and their Statutory Agent/President, Oscar
               Torres in FL; engage Process Service
               Associates for delivery upon Happy
               Jewelers Statutory Agent Gabriyel Arik in
               CA. Conference with attorneys. Attention to
               multiple emails.

  06/06/2023   Prepare and file motion for reappointment     Istvan Gajary           7.00   $250.00   $1,750.00
               of receiver to include newly discovered
               (and previously undisclosed) fourth
               property; telephone call with prospective
               local counsel in California and property
               manager in effort to secure and evict
               tenants; continued review of financial
               records; attention to numerous related
               telephone calls and emails; telephone call
               with KabCo Kitchens owner Carlos.

  06/06/2023   Discuss necessity of reappointment to         Gregory Peterson        0.80   $250.00    $200.00
               include newly discovered property, review,
               edit and file.

  06/07/2023   Review status and tend to multiple open       Catherine J. Schwartz   2.90   $125.00    $362.50
               items, including mailings, banking,
               appointment on 4th CA property, FL
               vehicle records requests and subpoenas.
               Engage One Hour Legal Service for
               delivery upon ICON Aircraft Statutory
               Agent Simi Gupta in CA; Process Service
               Associates for delivery upon Henley &
               Partners Statutory Agent CT Corp. in CA
               and delivery upon Beverly Hills Ducati, CA;
               Statewide Process Service for delivery
               upon Henley & Partners Statutory Agent
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               CT Corp. in FL. Prepare packet to Beverly
               Hills Ducati enc. claim form, Court Order
               [Doc. 101] and a subpoena duces tecum.

  06/07/2023   Meeting with K Schwartz for issuing of          Gregory Peterson         1.00   $250.00    $250.00
               subpoenas.

  06/08/2023   Telephone call with FL motorist service         Catherine J. Schwartz    0.90   $125.00    $112.50
               specialist and intake of motor vehicle and
               vessel records; record USPS delivery and
               Process Server confirmations. Assist with
               subpoena to Shellpoint.

  06/08/2023   Research re: notices to be filed in each        Jerry E. Peer, Jr.       1.50   $250.00    $375.00
               district.

  06/09/2023   Meeting with I Gajary, service of               Catherine J. Schwartz    0.90   $125.00    $112.50
               subpoenas on all parties and counsel,
               attention to deliveries.

  06/09/2023   Continued follow up with local counsel on       Istvan Gajary            3.10   $250.00    $775.00
               filing receivership paperwork in California
               and Florida district courts; follow up with K
               Schwartz on service of subpoenas issued
               this week; follow up with property manager
               in California for Walnut Ave. property on
               various receivership items.

  06/09/2023   Review of Hunt Ortman engagement letter.        Jerry E. Peer, Jr.       0.20   $250.00     $50.00

  06/11/2023   Travel to Florida. Meeting with team to         Gregory Peterson         7.10   $250.00   $1,775.00
               outline course of time in Florida.

  06/11/2023   Prepare for trip to Miami and travel to         Istvan Gajary            7.00   $250.00   $1,750.00
               Miami; review and prepare for interviews
               with various individuals.

  06/11/2023   Finish initial probate forms and email same     Istvan Gajary            1.80   $250.00    $450.00
               to client for signatures; review various
               associated docs.

  06/12/2023   Send Order and Amendment to Chase and           Catherine J. Schwartz    0.80   $125.00    $100.00
               Wise.

  06/12/2023   Meeting with Binder and counsel. Meeting        Gregory Peterson         9.70   $250.00   $2,425.00
               with Kristin Hess. Meeting at Bayshore
               property with contractor, real estate agent
               and property manager. Search through
               personal items abandoned at the property.
               Meeting at Biscayne Island Terrace
               property.

  06/12/2023   Interviews with Jocelyn Binder, realtor         Istvan Gajary           10.00   $250.00   $2,500.00
               Kristen Hess, contractor and property
               manager for Bayshore property; inspection
               of Bayshore property and examination of
               personal property items for relevant asset
               information.
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  06/13/2023   Attention to many email communications         Catherine J. Schwartz   1.20   $125.00    $150.00
               with our attorneys on location in Florida as
               well as with supporting counsel in
               Pasadena, California, responding as
               necessary with information from our files,
               and intake of filed documents in district
               courts; updated certified mail tracking.

  06/13/2023   Follow up meeting with Hess, recovery of       Gregory Peterson        7.50   $250.00   $1,875.00
               several personal items, return to Bayshore
               property to continue search of personal
               property and records. Travel home from
               Florida.

  06/13/2023   Continued examination of personal              Istvan Gajary           8.00   $250.00   $2,000.00
               property items at Bayshore property in
               effort to locate asset information; second
               meeting with Kristen Hess to review
               additional personal property items; travel
               back to Columbus.

  06/14/2023   Intake and review of San Diego County          Catherine J. Schwartz   0.40   $125.00     $50.00
               Recorder's Office documents and Ft.
               Lauderdale counsel's filings; emails with
               Atty. Gajary.

  06/14/2023   Telephone calls with various individuals       Istvan Gajary           3.50   $250.00    $875.00
               about receivership items; oranization of
               items and details from Miami trip; attention
               to related emails.

  06/15/2023   Conference with Atty. I Gajary to discuss      Catherine J. Schwartz   2.10   $125.00    $262.50
               matters and next steps, which include a
               subpoena to California Car Company for
               information related to $25,000 paid
               December 2021 and continuation of IG's
               work in reviewing all bank statements line
               by line, identifying anything of note
               including payments to J Binder, purchases
               for J Binder, and payments to JT
               Contractors.

  06/15/2023   Summary entry to capture multiple              Gregory Peterson        3.00   $250.00    $750.00
               conversations, emails, etc. regarding
               subpoenas to Happy Jewelers, ICON
               Aircraft, UBS, Hensley, and multiple other
               exchanges. Further detail can be provide
               upon request.

  06/15/2023   Prepare various schedules related to Silver    Istvan Gajary           3.60   $250.00    $900.00
               expenditures; attention to emails with
               California counsel; review of additional
               items from Vorys; attention to various
               emails and texts with GSP and JEP about
               recievership matters.

  06/16/2023   Telephone calls with Henley & Partners         Catherine J. Schwartz   2.50   $125.00    $312.50
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               and JP Morgan Chase Bank; emails with
               Wells Fargo; prepare subpoenas for other
               banks and emails with attorneys; continue
               to work with I Gajary on line by line review
               of bank statements and update of charts,
               accordingly.

  06/16/2023   Telephone call with LynAlise Tannery,          Gregory Peterson             0.30    $250.00       $75.00
               Lead Counsel at Wells Fargo

  06/16/2023   Attention to numerous details related to       Istvan Gajary                6.50    $250.00     $1,625.00
               receiverhsip; prepare detailed email to
               attorney for Binder about receivership
               assets; update schedule of cash transfers
               to Binder from Silver; detailed review of
               bank statements to same; attention to
               emails with KS related to Binder transfers
               and gifts and various subpoenas; review of
               text messages between Binder and
               Mannette.

  06/17/2023   Review mailings and subpoenas out to           Catherine J. Schwartz        1.20    $125.00      $150.00
               date, update GSP. Continue to review
               bank records and update lists.

                                                                                  Services Subtotal           $49,962.50



  Expenses

    Date                                      Notes                                   Quantity      Rate         Total

  05/17/2023   Park Columbus, parking for today's meeting at Vorys                       1.00        $3.25         $3.25

  05/18/2023   Purchase of postage: service of Receiver's Oath upon                      5.00        $0.60         $3.00
               Defendants

  05/23/2023   Payment to FedEx for overnight delivery of executed deed to Ms.           1.00       $54.80       $54.80
               Dina Nerdinsky in Sevierville, TN

  05/24/2023   Purchase of certified mail postage for packets to vendors: Happy          7.00        $5.89       $41.23
               Jewelers, J.T. Contractors, Inc., KabCo Kitchens, Marine Max
               East, Miami Beach Marina, and Samy's Camera

  05/25/2023   Purchase of certified mail postage for packets to: Cash App,              5.00        $5.89       $29.45
               PayPal, Stripe, Venmo, and Zelle

  05/25/2023   Purchase of regular mail postage for packets to: Cash App and             2.00        $1.74         $3.48
               Venmo

  05/26/2023   Purchase of certified mail postage for packets to: Northrup &             2.00        $5.89       $11.78
               Johnson and ICON Aircraft

  05/30/2023   American Airlines: purchase of roundtrip airfare for three between        1.00     $3,190.00    $3,190.00
               Columbus, Ohio and Miami, Florida

  06/01/2023   Purchase of certified mail postage for packet of requests to: State       1.00        $5.65         $5.65
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               of California Department of Motor Vehicles

  06/01/2023   Payment to California Department of Motor Vehicles for record      1.00     $5.00       $5.00
               request production fee

  06/01/2023   Expedia: payment for hotel stays                                   1.00   $718.74     $718.74

  06/01/2023   May 2023 investigative services: Sauer & Associates                1.00   $940.00     $940.00

  06/02/2023   Payment to Verihull LLC for access to data from                    1.00    $59.99      $59.99
               BoatHistoryReport.com

  06/02/2023   California Accessor: payments for ParcelQuest access to            2.00    $14.95      $29.90
               Ramona and Venice properties

  06/06/2023   Payment to Statewide Process Service, Inc. for subpoena            1.00    $95.00      $95.00
               delivery upon J.T. Contractors, Inc. at 2051 NW 88 Way,
               Pembroke Pines, FL

  06/06/2023   Payment to Process Service Associates for subpoena delivery        1.00    $95.00      $95.00
               upon Newport Jewelers By Gabe Arik dba Happy Jewelers at 535
               N. Trayer Avenue, Glendor, CA

  06/06/2023   Payment to San Diego County Recorder for copies of three           1.00     $7.65       $7.65
               documents; 2022-0311015, 2022-0311016, and 2022-0475312

  06/06/2023   Payment to the County of San Diego, California recorder's office   1.00     $7.82       $7.82

  06/07/2023   Payment to One Hour Legal Service for subpoena delivery upon       1.00   $125.00     $125.00
               ICON Aircraft at 2141 Icon Way, Vacaville, CA

  06/07/2023   Payment to Process Service Associates for subpoena delivery        1.00    $95.00      $95.00
               upon CT Corporation Service for Henley & Partners USA Inc. at
               330 N. Brand Blvd., Glendale, CA

  06/07/2023   Purchase of certified mail postage for delivery to Beverly Hills   1.00     $6.13       $6.13
               Ducati

  06/08/2023   Payment of Florida Highway Safety and Motor Vehicles invoice       1.00    $56.00      $56.00
               for records of B Silver, J Binder, Eclipse Home Design LLC, and
               Collateral Damage LLC

  06/09/2023   Payment to FedEx                                                   1.00    $32.95      $32.95

  06/11/2023   Payment to American Airlines for baggage charge                    1.00    $30.00      $30.00

  06/11/2023   Eddie George's Grill: payment of dinner for three at Columbus      1.00   $100.00     $100.00
               airport

  06/12/2023   Purchase of postage for certified mailing of Order and             1.00     $5.89       $5.89
               Amendment to Chase Bank

  06/12/2023   Payment to Hunt Ortman Palffy Nieves Darling & Mah law firm in     1.00   $500.00     $500.00
               Pasadena, CA for the legal services of attorney Peter Schnaitman

  06/12/2023   Payment to Holiday Inn for two breakfast meals                     2.00    $19.05      $38.10

  06/12/2023   Shuckers restaurant: group dinner for three                        1.00   $416.38     $416.38
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                                                                                          Invoice # 7001 - 06/23/2023




   06/13/2023    Payment to American Airlines for baggage charge                        1.00      $30.00      $30.00

   06/13/2023    Payment to Holiday Inn for breakfast meal items                        1.00      $43.56      $43.56

   06/16/2023    Staples: purchase of external hard drive storage for housing large     1.00     $144.03     $144.03
                 volume of electronic materials

                                                                                 Expenses Subtotal          $6,924.78


                                                                                          Subtotal         $56,887.28

                                                                                               Total       $56,887.28




  Statement of Account
      Outstanding Balance New Charges       Amount in Trust Payments Received    Total Amount Outstanding
  (          $0.00       + $56,887.28 ) - (    $0.00       +     $0.00        )=        $56,887.28




  Please make all amounts payable to: Peterson Conners LLP

  Payment is due upon receipt.
  Payments more than 30 days overdue incur 1.5% per month interest charges.

  Please notify us if your contact information has changed.

  Our Tax ID: XX-XXXXXXX
